      Case 1:18-cr-10450-MLW Document 539 Filed 12/28/20 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

             v.                                    Cr. No. 18-10450-MLW            ·'
                                                                                     -.

ERICK LOPEZ FLORES,
HENRI SALVADOR GUTIERREZ,
ELISEO VAQUERANO CANAS,
JONATHAN TERCERO YANES,
MARLOS REYES, and
DJAVIER DUGGINS,
     Defendants.
                                                                                   ·,•




                                        ORDER

WOLF, D.J.                                                 December 28, 2020

     On December 21,            2020,   the court allowed the government's

assented-to motion for an extension of time to respond to defendant

Henri Salvador Gutierrez's motion to suppress statements made to

another inmate in October 2018,             in which his co-defendants have

joined.   See     Dkt.    No.     533    (collectively,   the   "Motion").   The

government's opposition is now due on January 8, 2021, anq any

replies must be filed by January 15,              2021.   Id. As the parties

anticipated, the revised briefing schedule raises the question of

when the court should commence the hearings on all pending motions,

which are now scheduled to begin on January 19, 2021. See Dkt. No.

476. There are several unanswered questions that are relevant to

that question.

     Therefore, it is hereby ORDERED that:
      Case 1:18-cr-10450-MLW Document 539 Filed 12/28/20 Page 2 of 2




     1.    Counsel shall confer and, by January 10, 2021, report,

jointly   if   possible,   concerning:    (a) whether    each   defendant

consents to the hearing on the Motion, including testimony, being

conducted by videoconference; (b) whether each defendant consents

to the hearing on any other pending motion that requires testimony

being conducted by videoconference;        (c) whether the government

objects to any hearing requiring testimony being conducted by

videoconference;   (d) the number of witnesses expected to·testify

concerning each motion and the approximate amount of time the

testimony of each should require; and (e) any other issues relevant

to scheduling.
                                                                            -
     2.   A scheduling conference shall be held on January 12,

2021, at 1:30 p.m.




                                    2
